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  GOOGLE LLC’S PROPOSED
    FINDINGS OF FACT AND
   CONCLUSIONS OF LAW ON
 PLAINTIFFS' REQUEST FOR AN
 ORDER FOR GOOGLE TO SHOW
CAUSE FOR WHY IT SHOULD NOT
     BE SANCTIONED FOR
   DISCOVERY MISCONDUCT

   Redacted Version of Document
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17
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
18
                                                  Case No. 4:20-cv-03664-YGR-SVK
19    CHASOM BROWN, et al., individually and
      on behalf of all similarly situated,        [GOOGLE LLC’S PROPOSED]
20                                                FINDINGS OF FACT AND
            Plaintiffs,                           CONCLUSIONS OF LAW ON
21                                                PLAINTIFFS’ REQUEST FOR AN
                   v.
                                                  ORDER FOR GOOGLE TO SHOW
22
      GOOGLE LLC,                                 CAUSE FOR WHY IT SHOULD NOT
23                                                BE SANCTIONED FOR DISCOVERY
            Defendant.                            MISCONDUCT
24
25                                                The Hon. Susan van Keulen
26
27
28
                                                                  Case No. 4:20-cv-03664-YGR-SVK
                           [GOOGLE LLC’S PROPOSED] FINDINGS OF FACT AND CONCLUSIONS OF LAW
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 1 I.        INTRODUCTION
 2            Plaintiffs Chasom Brown, et al. ("Plaintiffs") filed this motion seeking evidentia1y and
 3 moneta1y sanctions against Defendant Google, LLC ("Google") for alleged discoveiy failures by

 4 Google that Plaintiffs claim violated orders of this Court.
 5            At the Comi's request (Dkt. 443), Google proposes the following findings of fact and

 6 conclusions of law.

 7 II.        PLAINTIFFS' REQUEST FOR SANCTIONS
 8           1.     Pursuant to Federal Rule of Civil Procedure 3 7 (b), Plaintiffs move for three sanctions:

 9           2.      First, they ask the Comito "[t]ak[e] as established for pmposes of the action that (A)
10   Google can detect event-level Incognito traffic within its logs, (B) this Incognito data is linkable to

11 users, so that (C) the class is asce1iainable." Mot. 3.
12           3.      Second, they ask the Comito "[i]nstmct[] the jmy that 'Google concealed and altered

13 evidence regarding its ability to identify Incognito traffic."' Id.

14           4.      Third, they ask the Comito "[r]equire Google to reimbm-se Plaintiffs for all fees that
15 have been paid and will be paid to Special Master Bmsh." Id.
16            5.     Plaintiffs premise their motion on the allegation that Google concealed that certain
17   Google          engmeers          created           and       logged         a        bit        called

18
19                        ," (refeITed to herein as'                           "for simplicity), that Google

20 failed to identify for Plaintiffs the names oflogs storing the bit in a Google declaration ordered by the
21 Court, and that Google altered a produced log schema to remove reference to it. Id.

22            6.    In supplemental briefing, Plaintiffs also allege that Google concealed two other bits
23 called'                                       "and'                       ." Supp. 1.

24           7.      Plaintiffs allege that Google's conduct violated this Comi's November 12, 2021
25 discove1y order,Dkt. 338.

26 Ill.      EVIDENTIARY OBJECTIONS
27           8.      Google objects to the declarations of Mark C. Mao in support of Plaintiffs' motion.
28 Specifically, Google objects to paragraphs 3-12, 15-23 ,25, and27-31 of the Declaration ofMaik C.

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 1                   1.      Evidentiary Sanctions
 2           87.     Plaintiffs seek two related forms of evidentiary sanction: issue preclusion in the form of
 3 an order taking as established “that (1) Google can detect event-level Incognito traffic within its logs,
 4 and (2) this Incognito data is linkable to users, so that (3) the class is ascertainable;” and evidentiary
 5 preclusion in the form of an order prohibiting Google from “presenting any arguments . . . concerning
 6 whether Google can identify Incognito traffic within logs and whether that da ta is linkable to users.”
 7 Mot. 20. Neither preclusion sanction is justified.
 8           88.     “Courts rarely impose issue preclusion sanctions” and reserve them “only for discovery
 9 abuse that is so extreme and prejudicial that no lesser remedy will cure the harm. ” Natural-
10 Immunogenics Corp. v. Newport Tr. Grp., 2016 WL 11520757, at *6 (C.D. Cal. June 16, 2016).
11           89.     Sanctions precluding a party from offering evidence are similarly disfavored where the
12 alleged prejudice is curable and lesser sanctions are available. rePlanet Holdings, Inc. v. Fed. Ins. Co.,
13 2020 WL 1046960, at *5 (E.D. Cal. Mar. 4, 2020).
14           90.     Here, Plaintiffs have not suffered prejudice and lesser remedies are available to cure
15 the alleged harm. Accordingly, issue and evidence preclusion sanctions are not warranted.
16           91.     Google produced documentation identifying and describing the bits at issue in 2021,
17 months before the close of fact discovery. See Kannan v. Apple, Inc., 2020 WL 9048723, at *8 (N.D.
18 Cal. Sept. 21, 2020) (prejudice from incomplete discovery is “limited” where movin g party had
19 “access to other sources of information about” the same topic); see also United States ex rel. Wiltec
20 Guam, Inc. v. Kahaluu Const. Co., 857 F.2d 600, 604 (9th Cir. 1988) (delayed production “did not
21 prejudice the outcome of [the] action” even if it “caused serious inconvenience”).
22           92.     Moreover, the harm Plaintiffs allege is insufficient access to information important to
23 their case, and Google has already produced or agreed to produce additional discovery on all three bits
24 at issue. See Nuance Comms., Inc. v. ABBYY Software House, 2012 WL 5904709, at *3 (N.D. Cal.
25 Nov. 26, 2012) (“[I]f Plaintiff believed that the prejudice it suffered . . . was losing its right to conduct
26 discovery . . . then the appropriate relief was not to ask for issue preclusion sanctions, but to seek a
27 discovery extension so that it could actually have a chance to learn more about its claims. ”);
28 Manchester v. Sivantos GMBH, 2019 WL 988676 (C.D. Cal. Feb. 8, 2019) (“The Court is reluctant to

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 1          99.     For the first time on Reply, Plaintiffs argue that Google’s alleged discovery misconduct
 2 is relevant to Plaintiffs’ claims for invasion of privacy and intrusion upon seclusion, as well as their
 3 entitlement to punitive damages. Reply 15. The Court will not consider these belated arguments,
 4 which should have been made in the opening papers. Zamani v. Carnes, 491 F.3d 990, 997 (9th Cir.
 5 2007) (“The district court need not consider arguments raised for the first time in a reply brief.”).
 6          100.    In any event, Google's litigation conduct has no bearing on the merits of Plaintif fs ’
 7 case, and has not affected any piece of evidence to which the jury would otherwise have access. It
 8 would be prejudicial and irrelevant to air these claims before the jury .
 9                  3.      Special Master Fees
10          101.    Plaintiffs further seek an order requiring Google to reimburse Plaintiffs for all fees paid
11 and to be paid to the Special Master in this case pursuant to Rule 37(b)(2)(C). The relief they seek,
12 however, is outside the scope of the reimbursement authorized by Rule 37.
13          102.    Rule 37(b)(2)(C) provides that a sanctioned party must pay only expenses that are both
14 “reasonable” and actually “caused by the failure” resulting in sanctions. Accordingly, any expenses
15 incurred prior to the sanctionable conduct are not compensable. Liew v. Breen, 640 F.2d 1046, 1051
16 (9th Cir. 1981). Nor are discovery expenses that would have been incurred regardless of the
17 misconduct. Toth v. Trans World Airlines, 862 F.2d 1381, 1386 (9th Cir. 1988).
18          103.    Instead, courts generally construe Rule 37(b)(2)(C) as authorizing reimbursement
19 solely for the expenses incurred in preparing the sanctions motion itself. See First Fin. Sec., Inc., 2016
20 WL 5870218, at *7; Alaska Pulp Corp. v. United States, 41 Fed. Cl. 611, 616-17 (C.F.C. 1998).
21          104.    Plaintiffs’ requested reimbursement is neither “reasonable” nor “caused by the failure”
22 alleged. Because Google did not violate a discovery order and is not subject to sanction under Rule
23 37(b), no reimbursement is called for.
24 VI.      CONCLUSION
25          105.    For the foregoing reasons, the Court finds that Google has not violated a discovery
26 order and no sanctions are warranted.
27          106.    Accordingly, Plaintiffs’ motion requesting an order for Google to show cause for why
28 it should not be sanctioned for discovery misconduct is DENIED.

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